Case 2:20-cv-00647-DBB-JCB Document 64 Filed 01/17/24 PageID.649 Page 1 of 5




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                        THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH

 RUSSELL GREER,
                                                     MOTION TO TRANSFER
        Plaintiff,
 v.                                                  Case No. 2:20-cv-00647-DBB


 JOSHUA MOON, et al.                                 District Judge David Barlow
                                                     Magistrate Judge Cecilia M. Romero
        Defendant.



        NOW COME the Defendants, and move that this case be transferred to the

 U.S. District Court for the Northern District of Florida.

        Defendants respectfully incorporate by reference the attached Memorandum of

 Law and the Declaration of Joshua Moon.

      DATED January 17, 2024

                                           HARDIN LAW OFFICE

                                           /s/ Matthew D. Hardin
                                           Matthew D. Hardin
                                           Attorney for Defendants
Case 2:20-cv-00647-DBB-JCB Document 64 Filed 01/17/24 PageID.650 Page 2 of 5




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                        THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH

 RUSSELL GREER,                                     MEMORANDUM OF LAW IN
                                                    SUPPORT OF MOTION TO
        Plaintiff,                                  TRANSFER
 v.                                                 Case No. 2:20-cv-00647-DBB


 JOSHUA MOON, et al.                                District Judge David Barlow
                                                    Magistrate Judge Cecilia M. Romero
        Defendant.



        NOW COME the Defendants, by and through their undersigned counsel, and

 file this Memorandum of Law in Support of their Motion to Transfer this case.

        I.      Introduction

       None of the parties to this lawsuit are a resident of Utah. Nor does the

Complaint reveal any particular action that took place in Utah. The Plaintiff is a resident

of Las Vegas, Nevada. Joshua Moon is a domiciliary of the Northern District of Florida.

Lolcow, LLC (d/b/a Kiwi Farms) is a limited liability company organized under the laws

of the State of West Virginia, but Mr. Moon (a Floridian) is its sole member. It is

therefore facially apparent that this case should not be tried in the District of Utah.

        II.     Standard of Review

       “For the convenience of parties and witnesses, in the interest of justice, a district

court may transfer any civil action to any other district or division where it might have
Case 2:20-cv-00647-DBB-JCB Document 64 Filed 01/17/24 PageID.651 Page 3 of 5




been brought or to any district or division to which all parties have consented.” 28

U.S.C.S. § 1404. A motion to transfer under § 1404(a) is analyzed under what is

essentially a forum non conveniens standard to determine whether transfer is proper.

See Chrysler Credit Corp. v. Country Chrysler, Inc., 928 F.2d 1509, 1516 (10th Cir.

1991). That analysis focuses on "both the convenience of the parties and various

public-interest considerations." Atl. Marine Constr. Co. v. U.S. Dist. Ct., 571 U.S. 49,

62, 134 S. Ct. 568, 187 L. Ed. 2d 487 (2013).

        III.   Argument

       The Complaint in this matter was filed on September 24, 2020. ECF No. 3. In

¶13, the Plaintiff alleges that “Defendant Joshua Moon resides in Florida.” Mr. Greer

also alleges that Mr. Moon “manages Kiwi Farms.” Id. On January 4, 2021, the Plaintiff

notified the Court that he was a citizen of Nevada. ECF No. 13. The allegations in the

Complaint appear to relate to actions taken on the internet and targeted at no

particular geographic location. The Complaint identifies no witnesses in Utah, nor any

events in Utah for which witnesses might be identifiable.

       The Plaintiff makes three allegations as his basis for suing in Utah. None of

them withstand scrutiny, especially at this stage of the proceedings with the Plaintiff

himself having abandoned his ties to Utah.

       First, in ¶ 7 of the Complaint, Mr. Greer alleges that “17 U.S.C. § 101 et seq.”

gives this Court jurisdiction. Unfortunately for Mr. Greer, the Copyright Act contains

venue provisions which differ from those which are applicable in ordinary civil cases.

The Copyright Act states in relevant part that "Civil actions..., arising under any Act of

Congress relating to copyrights... may be instituted in the district in which the

defendant or his agent resides or may be found." 28 U.S.C. § 1400(a) (emphasis
Case 2:20-cv-00647-DBB-JCB Document 64 Filed 01/17/24 PageID.652 Page 4 of 5




added). In this case, Joshua Moon may be found in Florida. He is not found in Utah,

and Plaintiff has made no allegations that lead to a belief that he ever could be found

in Utah. Indeed, Mr. Greer appears to confess that he could not locate Mr. Moon in

Utah, because he twice filed motions for alternative service. ECF Nos. 4 and 15.

Similarly, Kiwi Farms is a website and d/b/a of a West Virginia LLC, with Mr. Moon as

its sole member. Kiwi Farms therefore cannot be “found” in Utah.

       Second, in ¶ 9 of the Complaint, the Plaintiff alleges that there is complete

diversity in this case. But the Plaintiff’s allegations relating to diversity jurisdiction are

predicated on an unsound premise. There are no state law claims that remain viable in

this action, because all claims for purported harassment and other torts were

dismissed by this Court and were abandoned on appeal. The Plaintiff thus cannot find

succor in this Court’s diversity jurisdiction.

       Third, in ¶ 10 of the Complaint, the Plaintiff alleges that “Venue is proper in this

district pursuant to 28 U.S.C. §§ 1391(b) and (c), and/or § 1400(a).” As indicated

above, 28 U.S.C. § 1400(a) states that venue is proper where the Defendant resides.

By Plaintiff’s own admission, Mr, Moon does not reside in Utah. ECF No 3, ¶ 13. The

two subsections of §1391 are equally unavailing: §1391 (b) again states that an action

may be filed where the defendant resides (in this case, Florida) or where “a substantial

part of the events or omissions giving rise to the claim occurred.” The Complaint is

bereft of allegations which would indicate a substantial part of the events or omissions

at issue in this case took place in Utah. Similarly, §1391 (c) states that a natural person

may be sued in the district in which he or she is domiciled. But again: Mr. Moon is

domiciled in Florida. §1391 (c) provides no basis for suing him in Utah.

       The convenience of the parties does not favor resolving this case in Utah
Case 2:20-cv-00647-DBB-JCB Document 64 Filed 01/17/24 PageID.653 Page 5 of 5




because none of the parties reside in Utah or do business in Utah. The convenience of

witnesses does not favor resolving this case in Utah because there appear to be no

fact witnesses who reside in Utah and because no events for which testimony will be

required took place in Utah. To the extent that this Court looks to public policy, the

Copyright Act favors adjudication in district of the Defendant’s residence, not

adjudication in the location of a Plaintiff’s choosing. This Court should therefore

transfer this case to Mr. Moon’s home district, which is the Northern District of Florida.

        IV.    Conclusion

       The Court should transfer this case to the Northern District of Florida.

       DATED January 17, 2024

                                          HARDIN LAW OFFICE

                                          /s/ Matthew D. Hardin
                                          Matthew D. Hardin
                                          Attorney for Defendants




                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed via CM-ECF
this 17th day of January, 2024, which provided service upon all counsel of record.
Additionally, I mailed a copy of the foregoing to the Plaintiff, who has now confirmed to
me that he is acting pro se, at:

                                   Russell Greer
                                   P.O. Box 46602
                                   Las Vegas, NV 89114

                                          /s/ Matthew D. Hardin
                                          Matthew D. Hardin
